 

Case 15-11685-KJC Doc 138 Filed 09/08/15 Page1of4

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re: Chapter 11

HERCULES OFFSHORE, INC., et al. Case No. 15-11685 (KJC)
Jointly Administered

Debtors.!

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Re: D.I. 11, 49, 70 & LOY

 

FINAL ORDER (1) PROHIBITING UTILITIES FROM ALTERING,
REFUSING, GR DISCONTINUING SERVICE; (I) DEEMING UTILITIES
ADEQUATELY ASSURED OF FUTURE PERFORMANCE; AND (IH) ESTABLISHING

PROCEDURES FOR DETERMINING ADEQUATE ASSURANCE OF PAYMENT

Upon the motion (the “Motion”) of Hercules Offshore, Inc. and its debtor affiliates, as

 

debtors and debtors-in-possession in the above-captioned chapter 11 cases (collectively, the
“Debtors”), for a final order (this “Final Order”), pursuant to sections 105(a) and 366 of the
Bankruptcy Code, (i) prohibiting the Utility Companies’ from altering, refusing, or discontinuing
Utility Services; (ii) deeming the Utility Companies adequately assured of future performance;
(iii) approving the Debtors’ proposed offer of adequate assurance and procedures governing the
Utility Companies’ requests for additional or different adequate assurance; and (iv) determining
that the Debtors are not required to provide any additional adequate assurance beyond what is
proposed in the Motion, all as more fully set forth in the Motion; and the Court having

jurisdiction to consider the Motion and the relief requested therein pursuant to 28 U.S.C. §§ 157

 

The Debtors in these chapter 1] cases, along with the last four digits of each Debtor’s federal tax
identification number, are: Cliffs Drilling Company (8934), Cliffs Drilling Trinidad L.L.C.
(5205); FDT LLC (7581); FDT Holdings LLC (4277); Hercules Drilling Company, LLC (2771);
Hercules Liftboat Company, LLC (0791), Hercules Offshore, Inc. (2838); Hercules Offshore
Services LLC (1670); Hercules Offshore Liftboat Company LLC (5303), HERO Holdings, Inc.
(5475); SD Drilling LLC (8190); THE Offshore Drilling Company (4465); THE Onshore Drilling
Company (1072); TODCO Americas Inc. (0289); and TODCO International Inc. (6326). The
address of the Debtors’ corporate headquarters is 9 Greenway Plaza, Suite 2200, Houston, Texas
77046.

Capitalized terms used and not otherwise defined herein shall have the meanings ascribed to them
in the Motion.
 

Case 15-11685-KJC Doc138 Filed 09/08/15 Page 2of4

and 1334 and the Amended Standing Order of Reference from the United States District Court
for the District of Delaware, dated February 29, 2012; and this Court having found that this is a
core proceeding pursuant to 28 U.S.C. § 157(b)(2); and that this Court may enter a final order
consistent with Article III of the United States Constitution; and this Court having found that
venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408
and 1409; and due and proper notice of the Motion having been provided; and the relief
requested being in the best interests of the Debtors and their estates and creditors; and this Court
having reviewed the Motion and having heard the statements in support of the relief requested
therein at a hearing before this Court (the “Hearing”); and the Court having determined that the
legal and factual bases set forth in the Motion and at the Hearing establish just cause for the
relief granted herein; and upon all of the proceedings had before the Court and after due
deliberation and sufficient cause therefore; it is HEREBY ORDERED THAT:

1. The Motion is GRANTED as set forth herein.

2. All relief granted in the Interim Order is hereby granted on a final basis.

3. The Debtors’ Proposed Adequate Assurance satisfies the requirements under
section 366 of the Bankruptcy Code.

4, Any Utility Company that fails to submit an Additional Assurance Request in
accordance with the Adequate Assurance Procedures previously approved by this Court, or to
file a timely Procedures Objection as required by the Interim Order is deemed to have adequate
assurance that is satisfactory to it, within the meaning of section 366 of the Bankruptcy Code and
shall not (i) discontinue, alter, or refuse service to, or discriminate against, the Debtors on the

basis of the commencement of these chapter 11 cases or as a result of any unpaid prepetition
 

Case 15-11685-KJC Doc138 Filed 09/08/15 Page 3of4

charges, or (ii) require additional adequate assurance of payment other than any Adequate
Assurance Deposit supplied.

5. The relief granted herein is for all Utility Companies providing Utility Services to
the Debtors and is not limited to those listed on the Utilities Service List attached as Exhibit A to
the Motion.

6. The Debtors are authorized to supplement, as necessary, the Utility Service List
and the Debtors shall serve copies of the Motion, the Interim Order and this Final Order on such
newly identified Utility Companies, and that this Final Order shall be binding on all Utility
Companies providing Utility Services to the Debtors, regardless of when each Utility Company
was added to the Utility Service List, provided that any such newly identified Utility Company
not on the Utility Service List annexed to the Motion shall have until the later of (2) 14 days from
the date of such service or (ii) 30 days from the entry of this Final Order to serve an Additional
Assurance Request (as defined in the Motion) in accordance with the Adequate Assurance
Procedures approved by this Court. The Debtors will add two weeks’ worth of utilities charges
to the deposit for each subsequently added Utility Company.

7. The Debtors are authorized and empowered to take all actions necessary or
appropriate to implement the relief granted in this Final Order.

8. This Court shall retain jurisdiction to hear and determine all matters arising from
or related to the implementation, interpretation and/or enforcement of this Final Order.

9. Notwithstanding the relief granted in this Final Order and any actions taken
pursuant to such relief, nothing in this Final Order shall be deemed: (a) an admission as to the
validity of any prepetition claim against a Debtor entity; (b) a waiver of the Debtors’ right to

dispute any prepetition claim on any grounds; (c) a promise or requirement to pay any
 

Case 15-11685-KJC Doc138 Filed 09/08/15 Page 4of4

prepetition claim; (d) an implication or admission that any particular claim is of a type specified
or defined in this Final Order or the Motion; (e) a request or authorization to assume any
prepetition agreement, contract, or lease pursuant to section 365 of the Bankruptcy Code; or (f) a
waiver of the Debtors’ rights under the Bankruptcy Code or any other applicable law.

10. The Debtors’ service of the Motion upon a company or a Utility Company’s
inclusion on the Utility Service List shall not constitute an admission or concession that such
entity is a utility within the meaning of section 366 of the Bankruptcy Code, and the Debtors
retain all rights and defenses with respect thereto,

11, Bankruptcy Rule 6003 has been satisfied because the relief requested in the
Motion is necessary to aveid immediate and irreparable harm to the Debtors.

12. Notwithstanding any applicability of Bankruptcy Rule 6004(h), the terms and
conditions of this Order shall be immediately effective and enforceable upon its entry.

Dated: Vent & | GOs

Wilmington, Délaware

 

 

THE HONORABLE KEVIN J.
UNITHD STATES BANKR

  

 
